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uNiTED sTATEs oF AMERicA Wil) 09 _,:r=i?"ti!v
P|aintiff
vs.

CR. NO. O5-20130-B
RAFAT JAl\/|AL MAWLAW| (C)

Defendant.

 

ORDER ON CONTJNUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Viay 31, 2005. At that time, counsel for the
defendant requested a continuance of the trial date in order to allow for additional preparation in
the case.

The Court granted the request and reset the trial date to August 1, 2005 with a report date
of Monday, Juiy 25, 2005. A N|otion to Suppress Evidehce was filed and a suppression hearing
Was set for Ju|y 21, 2005.

A Niotion to Continue is Granted and Report Date is re-set for Monda;(l August 29, 2005
at 9:30 a.m., in Courtroom 1, 11th F|oor of the Federa| Bui|ding, |\i'|emphisl TN.

The period from August 12, 2005 through September 16, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

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iris so ORDERED this 20 day ofJ y, 2005.

 

.D NlEL BR`EEN
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20130 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

